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          7

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          9
                                         UNITED STATES DISTRICT COURT
         10
                                        CENTRAL DISTRICT OF CALIFORNIA
Z        11
w                                               WESTERN DIVISION
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            WALTER P. MOORE AND ASSOCIATES,                 CASE NO.    2:24-cv-6428
         14 INC., a Texas corporation,
Z                                                           COMPLAINT FOR:
         15                Plaintiff,
<co
J w                                                         (1) Breach of Written Contract
Cl. I    16         v.                                      (2) Breach of Written Contract —
                                                                                           – Third
ID       17 BEHAVIORAL HEALTH AT LB LLC, a                      Party Beneficiary
0                                                           (3) Account Stated
            Delaware limited liability company; CEDAR
         18 HEALTHGROUP LLC, a New Jersey limited           (4) Quantum Meruit
            liability company; CEDAR HOLDINGS,              (5) Declaratory Relief
         19 LLC, a New Jersey limited liability company;
            CEDAR HEALTH, a fictitious or nonexistent       JURY TRIAL DEMANDED
         20 New Jersey enterprise; MWN COMMUNITY
            HOSPITAL, LLC, a California limited
         21 liability company also known as MWN, LLC,
            a California limited liability company; MARK
         22 TRESS, an individual and resident of New
            Jersey; CHAIM ROTTENBERG, an
         23 individual and resident of New Jersey; and
            FIDELITY NATIONAL TITLE COMPANY,
         24 a California corporation and stakeholder only

         25                Defendants.
         26

         27

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                                                         1
                                                     COMPLAINT
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          1          Plaintiff Walter P. Moore and Associates, Inc., a Texas corporation ("WPM"
                                                                                         (“WPM” or

            “Plaintiff”), by and through its undersigned counsel, hereby alleges its several claims against
          2 "Plaintiff'),

          3 Defendants Behavioral Health At LB LLC, a Delaware limited liability company ("BHLB");
                                                                                         (“BHLB”);

          4 Cedar Healthgroup, LLC, a New Jersey limited liability company ("HEALTHGROUP");
                                                                           (“HEALTHGROUP”); Cedar

          5 Holdings, LLC, a New Jersey limited liability company ("HOLDINGS");
                                                                  (“HOLDINGS”); Cedar Health, a

          6 fictitious or nonexistent New Jersey enterprise ("CH");
                                                            (“CH”); MWN Community Hospital, LLC, a

          7 California limited liability company also known as MWN, LLC, a California limited liability

          8 company (collectively "MWN");
                                  “MWN”); Mark Tress, an individual and resident of New Jersey

          9 ("TRESS");
            (“TRESS”); Chaim Rottenberg, an individual and resident of New Jersey ("ROTTENBERG");
                                                                                  (“ROTTENBERG”);

         10 and Fidelity National Title Company, a California corporation and stakeholder only

Z        11 ("FIDELITY"),
            (“FIDELITY”), as follows:
w
Dz       12                                    JURISDICTION AND VENUE
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Dict     13          1.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)(1) in that this
I
wo       14 is a civil action, there is complete diversity of citizenship between Plaintiff, a Texas corporation,
zo       15 and each of the named Defendants (except nominal defendant FIDELITY), and the amount in
< co
J w
a_ _J    16 controversy exceeds $75,000, exclusive of interest and costs.

         17          2.      Venue is proper in the Western District of California under 28 U.S.C. § 1391(b)(2)
a
         18 in that a substantial part of the events, acts and omissions giving rise to the claims alleged herein

         19 occurred in the City of Long Beach and thus within the Western District, and further because one
         20 of the contracts sued upon provides that exclusive venue for a claim involving the performance of

         21 the contract shall be a court of competent jurisdiction where the underlying "Project"
                                                                                         “Project” is located,

         22 which, with the Project being in Long Beach, California, is this Court.

         23          3.      This Court has jurisdiction over each defendant in that each was involved with the

         24 real property purchase and sale transaction and/or the seismic evaluation of the property, being the

         25 subjects of the contracts being sued upon and thus the controversy relates to and directly arises out

         26 of each Defendants'
                    Defendants’ contacts with California.

         27 / / /

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                                                          COMPLAINT
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          1                                            THE PARTIES
          2          4.      Plaintiff Walter P. Moore and Associates, Inc. ("WPM")
                                                                            (“WPM”) is, and at all times herein
          3 mentioned was, a Texas corporation, with its principal place of business in Houston, Texas.

          4          5.      Plaintiff is informed and believes, and thereon alleges, that Defendant Behavioral

          5 Health at LB LLC ("BHLB")
                             (“BHLB”) is, and at all times herein mentioned was, a Delaware limited

          6 liability company with its principal place of business located at 150 Airport Blvd., Lakewood,

          7 New Jersey. Plaintiff is further informed and believes, and thereon alleges, that defendant Mark

          8 Tress "TRESS"
                  “TRESS” is the manager of BHLB as well as its sole member, being the only individual

          9 with decision-making authority to act and the only individual with overall control over the actions

         10 of BHLB in its role as the Buyer or Purchaser of the property that is the subject of the two

Z        11 contracts Plaintiff is suing upon herein, as hereinafter alleged.
Dz       12          6.      Plaintiff is informed and believes, and thereon alleges, that Cedar Healthgroup LLC
0I
Dict     13 ("HEALTHGROUP")
            (“HEALTHGROUP”) is, and at all times herein mentioned was, a New Jersey limited liability
I
wo       14 company, with its principal place of business located at 150 Airport Blvd., Lakewood, New
 5
z0       15 Jersey. Plaintiff is further informed and believes, and thereon alleges, that defendant Mark Tress
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J w
a_ _I    16 "TRESS"
            “TRESS” is the manager of HEALTHGROUP and may also be its sole member.
IQ       17          7.      Plaintiff is informed and believes, and thereon alleges, that Cedar Holdings LLC
0
         18 ("HOLDINGS")
            (“HOLDINGS”) is, and at all times herein mentioned was, a New Jersey limited liability

         19 company, with its principal place of business located at 150 Airport Blvd., Lakewood, New
         20 Jersey. Plaintiff is further informed and believes, and thereon alleges, that defendant Mark Tress

            “TRESS” is the manager of HEALTHGROUP and is its sole member.
         21 "TRESS"

         22          8.      Plaintiff is informed and believes, and thereon alleges, that Cedar Health ("CH")
                                                                                                        (“CH”) is,

         23 by that name alone, a fictitious and nonexistent entity whose name was used by defendant

         24 ROTTENBERG and Harvey Ross ("Ross"),
                                       (“Ross”), acting as an agent or agents on behalf of a then

         25 undisclosed principal or principals, or as a potential reference to either HEALTHGROUP or

         26 HOLDINGS, and which name was, in either event, allowed to be used in that form by WPM in

         27 its dealings with ROTTENBERG and Ross when it was actually working unknowingly with one

         28 or more undisclosed principals, including but not limited to defendants BHLB,
                                                              3
                                                          COMPLAINT
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  1 HEALTHGROUP, HOLDINGS, and TRESS. As such, when reference to CH has been made
  2 in the transactions that are the subject of this action, Plaintiff is informed and believes, and thereon

  3 alleges, that it has been used by and on behalf of persons and entities residing in the State of New

  4 Jersey, or otherwise having their principal place of business in Lakewood, New Jersey and,

  5 specifically, 150 Airport Blvd., in Lakewood, New Jersey.

  6          9.      Plaintiff is informed and believes, and thereon alleges, that MWN Community

  7 Hospital, LLC is, and at all times herein mentioned was, a California limited liability company,

  8 that is also now known as MWN, LLC, a California limited liability company (collectively

  9 "MWN"),
    “MWN”), both of whom are presently plaintiffs in Case No. 2:24-cv-00022-SK pending in the

 10 Western District, of the United States District Court for the Central District of California.

 11          10.     Plaintiff is informed and believes, and thereon alleges, that defendant Mark Tress

 12 ("TRESS")
    (“TRESS”) is an individual and a citizen of the State of New Jersey.

 13          11.     Plaintiff is informed and believes, and thereon alleges, that defendant Chaim

 14 Rottenberg ("ROTTENBERG")
               (“ROTTENBERG”) is an individual and a citizen of the State of New Jersey.

 15 Plaintiff is further informed and believes, and thereon alleges, that ROTTENBERG is, and at all

 16 times herein mentioned was, the agent of fictitiously named defendant CH, and through it, the

 17 agent of his undisclosed principals, defendants HEALTHGROUP, HOLDINGS and, ultimately,

 18 BHLB and its alter ego, TRESS.

 19          12.     Plaintiff is informed and believes, and thereon alleges, that defendants

 20 HEALTHGROUP, HOLDINGS, BHLB and TRESS are alter egos of each other, in that there is

 21 such a unity interest and ownership among and between them that the separate personalities of the

 22 three limited liability companies and the individual do not exist and if the acts of each are treated

 23 as those of BHLB alone, or any of the other entities alone, and not of or also of TRESS, an

 24 inequitable result will or is likely to follow.

 25          13.     Specifically, Plaintiff is informed and believes, and thereon alleges, that each of the

 26 entities and TRESS use the same business address of 150 Airport Blvd., Lakewood, New Jersey,

 27 that each of the entities and TRESS use and have the same employees, including but not limited to

 28 ROTTENBERG and ROSS, and that, among other things that Plaintiff expects to discover and
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                                                  COMPLAINT
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  1 can only discovery through discovery, there has been a commingling of funds. The commingling
  2 occurred when money from an escrow account funded by BHLB, as part of its purchase

  3 transaction with MWN, was used to pay WPM its initial retainer for the structural engineering/

  4 seismic evaluation services contracted for by ROTTENBERG, ROSS and CH, which, as alleged

  5 herein, they did as agents for their undisclosed principals, HEALTHGROUP, HOLDINGS

  6 and/or BHLB.

  7          14.    Plaintiff is informed and believes, and thereon alleges, that Fidelity National Title

  8 Company ("FIDELITY")
            (“FIDELITY”) is a California corporation, which is designated and defined under the

  9 purchase and sale agreement entered into between BHLB and MWN (referred to below as the

 10 OriginalPSA), as the escrow holder for the transaction that is the subject of the OriginalPSA. As

 11 such, FIDELITY is named herein solely as a stakeholder and is, therefore, merely a nominal party.

 12                                    FACTUAL ALLEGATIONS

 13 A.       IN DECEMBER 2022, BHLB AND MWN ENTERED INTO A PURCHASE AND

 14          SALE AGREEMENT FOR THE COMMUNITY HOSPITAL OF LONG BEACH

 15          15.    Plaintiff is informed and believes, and thereon alleges, that on or about December

 16 27, 2022, BHLB, through TRESS, entered into a Purchase and Sale Agreement with MWN

 17 involving the real property and improvements located at 1720 and 1760 Termino Avenue, and

 18 4111 E. Wilton Street, in Long Beach, a complex commonly known and described as the

 19 Community Hospital of Long Beach (the "Subject
                                          “Subject Property").
                                                   Property”).
 20          16.    The Purchase and Sale Agreement between BHLB and MWN was thereafter

 21 amended several times, with one of them being for the purpose of specifically addressing and

 22 making provision for, and expressly providing for the payment from the transaction's
                                                                           transaction’s escrow

 23 account for, the seismic evaluation services for which WPM was later contracted by others, as

 24 agents of undisclosed principals, to perform. As such, the Purchase and Sale Agreement dated

 25 December 27, 2022, a true and correct copy of which is attached hereto as Exhibit 1, is

 26 appropriately referred to as the original Purchase and Sale Agreement and hereinafter as the

    “OriginalPSA.”
 27 "OriginalPSA."

 28          17.    In Section 3 of the OriginalPSA, which provided for a purchase price of
                                                     5
                                                 COMPLAINT
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          1 $25,000,000.00, the parties agreed that BHLB would deposit $1,000,000 into an escrow account,
          2 to be held by the Escrow Agent, a term defined to mean "Fidelity
                                                                   “Fidelity National Title, 3237 E. Guasti
          3 Road, Suite 105, Ontario, California 91761, Attn: Jennifer riddle, Email:

          4 Jennifer.Riddly@fnf.com.”
            Jennifer.Riddly@fnf.com." (OriginalPSA at Section 1, page 2, and Section 3, subpart (i).).

          5         18.     In the months following the execution of the OriginalPSA, and before WPM was

          6 formally engaged to provide its professional services in the form of a seismic evaluation of the

          7 Subject Property, or specific portions of it, WPM, through Dr. Balram Gupta, MWN, through

          8 John Molina (Molina, as the CEO of MWN, LLC, signed the OriginalPSA on behalf of the

          9 Seller), TRESS, using the email address of "mark@cedarholdings.net",
                                                       “mark@cedarholdings.net”, ROTTENBERG, using

         10 the email address "Chaim@cedarhealth.net",
                              “Chaim@cedarhealth.net”, and, ROSS, among others, using the email address

Z        11 of "Harvey@cedarhealth.net"
               “Harvey@cedarhealth.net” were all in direct communication with each other regarding the
w
Dz       12 scope of the seismic assessment work to be done. An example of one such group communication
0I
Dict     13 is the email dated April 4, 2023, sent by TRESS at 10:28 AM, a true and correct copy of which is
I
wo       14 attached hereto as Exhibit 2.
  5
z0       15         19.     On June 19, 2023, at the request of ROSS, ostensibly for CH, WPM submitted its
<co
J w
a_ _I    16 formal proposal for professional services, with its included Schedule T2 Terms of Agreement
Ip       17 attachment, to ROSS. On the same date, ROSS, via email, returned contract, signed by
0
         18 ROTTENBERG, ostensibly for CH, to WPM. A true and correct copy of the signed agreement,

         19 hereinafter "the
                        “the WPM Contract"
                                 Contract” is attached hereto as Exhibit 4, with the cover email sent by
         20 ROSS on June 19, 2023 at 2:45 PM attached hereto as Exhibit 3.

         21         20.     The WPM Contract set the total compensation for WPM’s
                                                                            WPM' s services, due upon the

         22 submission of invoices for the portion of work completed, at $198,000.00, but required an advance

         23 payment of $60,000 before work on the seismic evaluation scope defined in the proposal would

         24 begin. (Exhibit 3 at pages 3 and 4.)

         25         21.     In response to ROSS'
                                           ROSS’ss request that WPM start its work immediately, WPM through

         26 Dr. Gupta sent an email to ROSS on June 19, 2023, at 3:13 PM, a true and correct copy of the

         27 broader email chain being attached hereto as Exhibit 5, asking that "Cedar"
                                                                                “Cedar” pay the $60,000

         28 advance payment first:
                                                            6
                                                        COMPLAINT
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  1                 Thanks Harvey. Finally!!
                                      Finally!!!!
                    I’d start mobilizing the team right away. Could you please have
                    I'd
  2
                    Cedar process the advance payment as identified in the proposal?
  3                 Our W-9 is attached herewith. Please let me know if you have
                    any questions. Thanks.
  4

  5          22.    Without informing Dr. Gupta of the true identity of his as yet undisclosed principal,

  6 BHLB, ROSS responded within minutes to inform Dr. Gupta that a "Request
                                                                   “Request for payment asap

  7 just sent to CH.”
                 CH." (Exhibit 5.)

  8          23.
             23     To clarify whether there was someone in particular to whom WPM'
                                                                               WPM’ss invoices for

  9 its work should be submitted, Dr. Gupta of WPM put those questions to ROSS in an email chain

 10 ending on June 20, 2023, a true and correct copy of which is attached hereto as Exhibit 6, to which

 11 ROSS replied:
                    Can address to me, and send via email to this address. I review
 12                 invoices pertaining to CHLB project, approve and send to CH
                    for payment. I’ve
                                  I've not heard any specific requirements for invoices,
 13
                    so submit as you would any other until we hear otherwise.
 14
                    For a physical address for your files, let's
                                                           let’s use the New Jersey address
 15                 rather than CHLB’s.
                                CHLB' s. I’ll
                                         I'll locate and reply to this email with it. (Emphasis
                    added.)
 16

 17          24.    As of June 20, 2023, ROSS still did not disclose his undisclosed principal, opting
 18 instead to continue to refer to an entity he identified only as "CH."
                                                                    “CH.”
 19          25.     Although Dr. Gupta on behalf of WPM had advised ROSS that WPM could start
 20 its work "right
             “right away,”
                    away," provided it first received the $60,000 advance payment called for in the
 21 WPM Contract, and although ROSS had written to Dr. Gupta on June 19, 2023, that "Request
                                                                                    “Request
 22 for payment asap just sent to CH,”
                                  CH," that payment was not made right away. In fact, it was not until
 23 BHLB and MWN had amended their OriginalPSA to expressly provide for the ordering of a

 24 seismic assessment evaluation of the Subject Property, and for the payment of the cost of that

 25 work and resulting report from the escrow opened and funded for purchase transaction involving

 26 the Subject Property, that the advance payment was made.

 27          26.     Specifically, on July 18, 2023, BHLB and MWN entered into the Fourth
 28 Amendment To Purchase And Sale Agreement, a true and correct copy of which is attached hereto
                                                     7
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          1 as Exhibit 7 and hereinafter referred to as the "FA
                                                            “FA to OriginalPSA."
                                                                   OriginalPSA.”
          2          27.    In the July 18, 2023, FA to OriginalPSA, BHLB and MWN expressly agreed in
          3 Section 6 of the FA to OriginalPSA, that BHLB, as Buyer, with MWN’s
                                                                          MWN' s consent, as Seller,

          4 would have a seismic evaluation performed on the Real Property, defined as the land and

          5 improvements that are the subject of the OriginalPSA, referred to here as the Subject Property.

          6 (Exhibit 7 at Section 6 on page 2.)

          7          28.    In addition, in Section 8 of the FA to OriginalPSA, BHLB and MWN also

          8 expressly agreed that "The
                                  “The Seismic report costs will be drawn from existing deposit escrow.”
                                                                                                escrow."

          9 (Exhibit 7 at last sentence of Section 8 on page 2.)

         10          29.    Indeed, within two (2) days of the date of execution of the FA to OriginialPSA,

Z        11 TRESS emailed Dr. Gupta of WPM asking him to "confirm
                                                         “confirm receipt of the 60k wire today for the
Dz       12 Long Beach hospital report. Thanks.”
                                        Thanks." A true and correct copy of TRESS’s
                                                                            TRESS's email, dated July 20,
0I
Dict     13 2023, and sent at 4:28 PM, is attached hereto as Exhibit 8.
I
wo       14          30.    Then, the next day, and not having heard back from Dr. Gupta, TRESS sent a
 5
z0       15 further email to Dr. Gupta repeating verbatim the request made in TRESS’s
                                                                              TRESS's July 20, 2023, email.
<co
J w
a_ _I    16 A true and correct copy of TRESS’s
                                       TRESS's July 20, 2023, email, sent at 5:17 AM, is attached hereto as
IQ       17 Exhibit 9.
0
         18          31.    Later that same day, Dr. Gupta responded to TRESS that he would check with

         19 WPM'
            WPM’ss accounting department and would get back to TRESS. In his July 21, 2023 email sent at
         20 6:05 AM, TRESS responded by writing "Ty."
                                                “Ty.” A true and correct copy of the email from Dr.

         21 Gupta to TRESS and TRESS’
                               TRESS' succinct response, is attached hereto as Exhibit 10.

         22          32.    After receiving the advance payment of $60,000, Dr. Gupta and his WPM team

         23 moved forward with its work and on September 20, 2023, having completed their requested scope

         24 of work, sent their evaluation reports to representatives of the California Department of Health

         25 Care Access and Information ("HCAI").
                                        (“HCAI”). HCAI is the state agency authorized to approve or

         26 disapprove the type of medical use to which a structure or structures may be put. On October 8,

         27 2023, realizing that copies of the reports may not have also been sent to ROSS, Dr. Gupta

         28 forwarded via email the same reports previously provided to HCAI to ROSS. A true and correct
                                                             8
                                                         COMPLAINT
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  1 copy of Dr. Gupta’s
                Gupta's email to ROSS, dated October 8, 2023 and sent at 9:47 PM, along with only

  2 the face (title) pages of the seven (7) completed reports, are attached hereto as group Exhibit 11.

  3          33.    Pursuant to the terms of the WPM Contract, WPM invoiced "Cedar
                                                                            “Cedar Health"
                                                                                   Health” for

  4 the work it had done and was doing. Copies of the three (3) invoices submitted by WPM for its

  5 work, are dated 07/23/2023, 8/20/2023, and 09/24/2023, and reflect and unpaid balance due of

  6 $138,000. True and correct copies of the invoices are attached hereto as Exhibits 12, 13, and 14,

  7 respectively,

  8          34.    On multiple occasions, Dr. Gupta on behalf of WPM, and then later in-house

  9 counsel for WPM, sought payment of its unpaid invoices from ROSS, and others. At no time did

 10 ROSS, CH, HEALTHGROUP, HOLDINGS, BHLB, ROTTENBERG or TRESS ever

 11 challenge, question, or dispute the invoiced amounts, the invoices themselves, or WPM’s
                                                                                      WPM's claim

 12 that it was owed the $138,000 in fees pursuant to the WPM Contract.

 13          35.    On January 2, 2024, by which time BHLB and MWN were involved in litigation

 14 first in state court then in federal court in an action involving the OriginalPSA, as amended,

 15 TRESS asked Dr. Gupta if he could "connect"
                                      “connect” Dr. Gupta with, as TRESS stated it "my
                                                                                   “my atty,”
                                                                                       atty," Dr.

 16 Gupta responded by asking, in part, when WPM would be paid the three outstanding invoices,

 17 which Dr. Gupta then listed in his email. In response, TRESS did not object to or dispute the

 18 amount due, but instead wrote "Will
                                  “Will discuss with chaim.”
                                                     chaim." A true and correct copy of the email

 19 chain reflecting the above-noted exchanges, is attached hereto as Exhibit 15.
 20          36.    As alleged above, at no time did ROSS, ROTTENBERG, CH,

 21 HEALTHGROUP, HOLDINGS, BHLB or TRESS ever dispute or deny that $138,000 was due

 22 to WPM for the seismic assessment and evaluation services it had rendered relative to the Subject

 23 Property. Unfortunately, despite the fact that these defendants never disputed nor denied that the

 24 $138,000 was and is due, owing and unpaid to WPM, as of the date of filing the instant complaint,

 25 WPM has not been paid.

 26          37.    According to the terms of the WPM Contract, if payments due WPM are not paid

 27 within thirty (30) days after receipt of invoice, WPM may charge interest on the unpaid amounts

 28 and may charge interest at the highest legal rate or twelve percent (12%) per annum. Under Texas
                                                     9
                                                 COMPLAINT
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 1 law, which is the law applicable to the WPM Contract, that rate is ten percent (10%) per annum.
 2          38.    Applying ten precent (10%) simple interest to the amounts due under each of the
 3 three invoices, and extending that calculation through and including July 2, 2023, the total interest

 4 due as of July 2, 2023, is $10,566. Thereafter, interest accrues from and after that date, and

 5 through an including the date upon which judgment is entered herein, at the rate of $37.78 per day.

 6          39.    In addition to providing for the recovery of interest, the WPM Contract also

 7 provides at Section 11(E)
                       II(E) of Schedule T2, Terms and Conditions, that "any
                                                                        “any costs incurred by

 8 WALTER P. MOORE in collecting delinquent amounts including, without limitation, reasonable

 9 attorney’s
   attorney's fees shall be reimbursed by the Client.”
                                              Client." WPM, having had to engage counsel to pursue

10 this action for collection of the amounts due, owing and unpaid to WPM, therefore seeks an award

11 of reasonable attorney's
                 attorney’s fees and of all other costs incurred in the collection of the amount due.

12          40.    As of July 18, 2023, when BHLB and MWN entered into the FA to OriginalPSA,

13 both parties knew that WPM was the structural engineering firm slated to perform, and engaged to

14 perform, the seismic assessment work referred to in Sections 6 and 9 of the FA to OriginalPSA.

15 (See Exhibit 2.) In entering into the FA to OriginalPSA, both parties intended that WPM would

16 benefit from the payment provisions in their contract, both were motivated to ensure that WPM

17 was paid from the FIDELITY escrow account, and both knew and intended that WPM would

18 benefit in that regard and in that manner. For these reasons, WPM'
                                                                 WPM’ss current action to enforce the

19 terms of the OriginalPSA, as amended, and bring its own action for BHLB's
                                                                      BHLB’s breach of that
20 contract through nonpayment of the $138,000 due WPM from the escrowed funds held by

21 FIDELITY, is fully consistent with the reasonable expectations of BHLB and MWN.

22          41.    On the facts hereinabove alleged, and as supported by the documents attached

23 hereto as Exhibits 1 through 15, WPM brings this action for breach of contract, both directly

24 under the WPM Contract, and as a third party beneficiary of the OriginalPSA, as amended, and

25 seeks recovery of the amount due by way of additional relief alleged in the alternative, namely

26 under the remedy of account stated, quantum meruit, and declaratory relief, all as hereinafter

27 alleged.

28 ////
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                                                COMPLAINT
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         1                                    FIRST CAUSE OF ACTION
         2                                       Breach of WPM Contract

         3       (WPM v. BHLB, TRESS, ROTTENBERG, CH, HEATHGROUP and HOLDINGS)

         4          42.            42.    WPM realleges and incorporates by reference herein the allegations

         5 of Paragraphs 1 through and including 42 above as though fully set forth.

         6          43.            43.     As herein alleged, defendants ROTTENBERG and CH (to the

         7 extent the latter exists or is otherwise used by said defendants as a shorthand reference to

         8 HEALTHGROUP and/or HOLDINGS), were the agents of their undisclosed principal, being

         9 either HEALTHGROUP, HOLDINGS, BHLB and/or TRESS, as their alter ego, and are thus

        10 liable for all amounts due under the WPM Contract, pending a determination of the true identity

Z       11 of their undisclosed principal or principals.
Dz      12          44.    The WPM Contract, as alleged herein, and as attached hereto as Exhibit 4, set
0I
Dict    13 forth the duties, rights, obligations and responsibilities of both WPM and ROTTENBERG, CH,
I
wo      14 HEALTHGROUP, HOLDINGS, BHLP and TRESS, as alleged herein.
 5
z0      15          45.    WPM has performed all conditions, covenants, and promises that the WPM
<co
J w
a_ _I   16 Contract requires WPM to perform, except for those that were excused by the failure to perform
Ip      17 of the defendant agents and undisclosed principal or principals, as herein alleged.
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        18          46.    WPM is informed and believes, and thereon alleges, that as a result of the

        19 nonpayment of the $138,000 due for the services rendered by WPM under the WPM Contract,
        20 for which demand for payment had been repeatedly made, that each of the said agents and

        21 undisclosed principal or principals has breached the express terms of the WPM Contract.

        22          47.    As a direct, proximate and legal result of the said acts, omissions and misconduct,

        23 in breach of the WPM Contract, WPM has suffered harm and sustained damages by way of the

        24 nonpayment of the $138,000 due WPM, by incurring costs and attorney’s
                                                                      attorney's fees to date and to be

        25 further incurred up through and including the time that judgment is entered herein, all in an

        26 amount according to proof at trial.

        27          48.    WPM therefore seeks a judgment awarding it the $138,000 due, along with

        28 accrued interest thereon, at the rate of 10% simple interest, amounting to $11,246.04 as of July 20,
                                                              11
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         1 2024, and accruing thereafter at the rate of $37.78 per day. WPM also seeks an an award of
         2 reasonable attorney’s
                      attorney's fees and costs incurred in and as a result of its collection efforts.

         3          WHEREFORE, Plaintiff WPM prays for judgment as against the agents who engaged

         4 WPM, or the identified undisclosed principal or principles, as determined by the evidence

         5 adduced in discovery, including defendants ROTTENBERG, CH, HEALTHGROUP,

         6 HOLDINGS, BHLP and TRESS, as the alter ego of the entity defendants, all as hereinafter set

         7 forth.

         8                                    SECOND CAUSE OF ACTION

         9                                       Breach of the OriginalPSA

        10                  (WPM v. BHLB, MWN, TRESS and FIDELITY, as stakeholder)

Z       11          49.     WPM realleges and incorporates by reference herein the allegations of Paragraphs
Dz      12 1 through and including 42 above, as though fully set forth.
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Dict    13          50.     On the basis of the facts alleged above, including those set forth in Paragraphs 19,
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wo      14 26, 27, 28, 29, 30, 31, 32, 41 and 42, which are also incorporated herein by this reference, WPM
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z0      15 is a third-party beneficiary of the OriginalPSA, as amended, and brings this action for breach as a
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a_ _I   16 third-party beneficiary under the OriginalPSA, as amended.
Ip      17          51.     WPM has performed all the services which the OriginalPSA, as amended,
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        18 contemplated would be performed relative to the seismic assessment and evaluation called for and

        19 referenced in Section 6 of the FA to OriginalPSA.
        20          52.     WPM has demanded of TRESS, the manager and alleged alter ego of BHLP, and

        21 thus of BHLP, to pay the $138,000 due WPM for the professional services it rendered relative to

        22 and for the benefit of the Subject Property and the parties to the OriginalPSA, namely BHLB and

        23 MWN. By virtue of that demand, BHLB and MWN were to perform under the OriginalPSA, as

        24 amended, by, among other things, instructing the Escrow Agent, FIDELITY, to pay WPM the

        25 amount due WPM from the funds held by FIDELITY in escrow as the escrow holder.

        26          53.     BHLB, its manager and alter ego TRESS, and MWN have breached the

        27 OriginalPSA, as amended, by failing and refusing to authorize and instruct the Escrow Agent,

        28 FIDELITY, to pay all sums due and available within the escrow account controlled by
                                                            12
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         1 FIDELITY.
         2          WHEREFORE, Plaintiff WPM prays for judgment against Defendants BHLB and MWN,

         3 and against TRESS as the alter ego of BHLB, and for an order instructing FIDELITY to pay or

         4 otherwise release the funds it holds in escrow to WPM in the amount of $138,000, or such amount

         5 as is available in the Escrow Account, plus such amounts, if the current balance is insufficient to

         6 pay the entire $138,000, that may be returned or added to the escrow account during the pendency

         7 or at the conclusion of the litigation between BHLB and MWN, (being United States District

         8 Court for the Central District of California, Case No. 2:24-cv-00022-SK) and for such other relief

         9 as hereinafter set forth.

        10                                     THIRD CAUSE OF ACTION

Z       11                                             Account Stated
Dz      12      (WPM v. BHLB, HEALTHGROUP, HOLDINGS, CH, ROTTENBERG and TRESS)
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Dict    13          54.    WPM realleges and incorporates by reference herein the allegations of Paragraphs
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wo      14 1 through and including 42 above, as though fully set forth.
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z0      15          55.     In the alternative to WPM'
                                                  WPM’ss claims for breach of the WPM Contract and as a third
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J w
a_ _I   16 party beneficiary of the OriginalPSA, as amended, for breach of that contract, WPM also alleges
Ip      17 that a transaction between WPM and the defendants referenced above, involving the request for
0
        18 and provision of structural engineering services in the form of a seismic assessment and evaluation

        19 of the Subject Property, which created and gave rise to an indebtedness of said defendants, or
        20 either of them, to WPM. The amount of that indebtedness was $138,000, exclusive of costs,

        21 attorney’
           attorney' fees, and prejudgment interest.

        22          56.    WPM further alleges that by virtue of the request for services by said defendants,

        23 or either of them, and the rendition of those services by WPM, which were at all times acceptable

        24 to and not rejected, disputed, or criticized at any time or in any manner, by said defendants, or

        25 either of them, an agreement, express or implied, arose such that WPM was entitled to payment of

        26 the sum of $138,000 from said defendants for the services rendered and not paid for.

        27          57.     In conjunction with the rendition of the said services to and for the benefit of

        28 defendants, and each of them, WPM submitted written invoices and thereby established an
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                                                         COMPLAINT
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        1 account stated.
        2          58.      WPM is therefore entitled to payment of the principal sum of $138,000, plus such

        3 other amounts, including prejudgment interest, as may be allowed in accordance with the law.

        4          WHEREFORE, Plaintiff WPM prays for judgment based upon an account stated as

        5 against defendants ROTTENBERG, CH, HEALTHGROUP, HOLDINGS, BHLP and TRESS,

        6 as the alter ego of the entity defendants, all as hereinafter set forth.

        7                                    FOURTH CAUSE OF ACTION

        8                                             Quantum Meruit

        9          (WPM v. BHLB, HEALTHGROUP, HOLDINGS, CH, MWN, ROTTENBERG and

       10 TRESS)

Z      11          59.      WPM realleges and incorporates by reference herein the allegations of Paragraphs
Dz     12 1 through and including 42 above, as though fully set forth.
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Dict   13          60.      In the alternative to WPM'
                                                  WPM’ss claims for breach of the WPM Contract and as a third
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wo     14 party beneficiary of the OriginalPSA, as amended, for breach of that contract, WPM hereby
 5
z0     15 alleges that it provided valuable professional structural engineering services, worth the sum of
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a_ I   16 $138,000 or more, to or for the benefit of BHLB, HEALTHGROUP, HOLDINGS, CH, MWN,
IQ     17 ROTTENBERG and TRESS, that said services were accepted by each of the said parties, or
0
       18 either of them, and that said services were performed in a manner and under circumstances such

       19 that each of said defendants had notice the services were being rendered and that they were being
       20 rendered to and/or for their benefit, and with the expectation by WPM that WPM would be paid

       21 for their services by the party or parties who and sought and benefited from them.

       22          WHEREFORE, Plaintiff WPM prays for judgment in the alternative based upon the

       23 equitable doctrine of quantum meruit as against defendants ROTTENBERG, CH,

       24 HEALTHGROUP, HOLDINGS, MWN, BHLP and TRESS, as the alter ego of the entity

       25 defendants other than MWN, all as hereinafter set forth.

       26 / / /

       27 / / /

       28 / / /
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                                                         COMPLAINT
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         1                                     FIFTH CAUSE OF ACTION
         2                                            Declaratory Relief

         3          (WPM v. BHLB, HEALTHGROUP, HOLDINGS, CH, ROTTENBERG and TRESS)

         4          61.     WPM realleges and incorporates by reference herein the allegations of Paragraphs

         5 1 through and including 58 above, as though fully set forth.

         6          62.     As alleged and contended in the preceding paragraphs, WPM has alleged the

         7 existence of one or more agents acting on behalf of one or more undisclosed principals, as a result

         8 of which WPM alleges that each are liable to it subject to and pending the determination of the

         9 existence of the true undisclosed principal or principals for with the alleged agents

        10 ROTHENBERG, Ross and CH, had been acting.

Z       11          63.     As is further alleged and contended in the preceding paragraphs, WPM has set
Dz      12 forth the contracts under which it believes it has rights to pursue claims for breach, which include
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Dict    13 the WPM Contract and the OriginalPSA, as amended.
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wo      14          64.     As is further alleged and contended in the preceding paragraphs, WPM contends
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z0      15 that the funds held by designated Escrow Agent FIDELITY, are available and earmarked for, and
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J w
a_ _I   16 should be held for payment to WPM, for the services it rendered in preparing the seismic
Ip      17 assessment and evaluations of the Subject Property, all as alleged herein.
0
        18          65.     WPM is informed and believes, and thereon alleges, that defendants named herein

        19 as BHLB, HEALTHGROUP, HOLDINGS, CH, ROTTENBERG and TRESS (and potentially
        20 also MWN) dispute each of WPM'
                                     WPM’ss allegations and contentions, as noted herein.

        21          66.     Thus, an actual controversy exists between WPM and each of the said defendants

        22 involving the rights, liabilities, duties and obligations of each of the defendants named herein,

        23 including FIDELITY, as the designated stakeholder, to WPM.

        24          WHEREFORE, Plaintiff WPM prays for judgment as against defendants ROTTENBERG,

        25 CH, HEALTHGROUP, HOLDINGS, BHLB, MWN, TRESS and FIDELITY, as stakeholder

        26 only, and for a determination of the rights, liabilities, duties and obligations of each, as follows:

        27                                        PRAYER FOR RELIEF

        28          1.      For damages for breach of the WPM Contract in the amount of $138,000;
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 1          2.      For prejudgment interest on the amount due WPM under the WPM Contract in
 2 the maximum allowed under Texas law, and specifically the amount of $11,246.04 accrued as of

 3 July 20, 2024, plus per diem interest thereafter at the rate of $37.78 per day up to and including

 4 the day upon which judgment is entered herein;

 5          3.      For an award of attorney's
                                    attorney’s fees under the WPM Contract in accordance with Texas
 6 law and in an amount according to proof;

 7          4.      For damages to WPM for breach as a third-party beneficiary of the OriginalPSA,
                                                                                      OiiginalPSA,

 8 as amended, in the amount of $138,000;

 9          5.      For such other and further award of such sums as may be allowed by law to third-

10 party beneficiary, WPM, under the OriginalPSA, as amended, for the breach by defendants of the

11 said contract, including but not limited to prejudgment interest, attorney’s
                                                                     attorney's fees, and costs;

12          6.      For the sum of $138,000 under the theories of recovery alleged in the alternative,

13 being account stated and quantum meruit, all in accordance with applicable law;

14          7.      For prejudgment interest at the rate of 10% per annum simple, in an amount

15 according to proof at trial;

16          8.      For declaratory relief as requested pursuant to application state and/or federal law;

17          9.      For an order requiring stakeholder FIDELITY to hold, withhold, and then to

18 disburse to WPM all of the funds now being held or later reacquired into escrow and that are due

19 and owing and unpaid to WPM under and pursuant to the OriginalPSA,
                                                         OiiginalPSA, as amended;

20          10.     For such other relief as the Court may deem just and proper.

21                                           JURY DEMAND
22
            WPM hereby respectfully demands a trial by jury in this action on all issues so triable.
23
     Dated: July 30, 2024                       PLANTE HUGUENIN LEBOVIC KAHN LLP
24

25

26                                              By:
                                                      Robert J. Kahn,
                                                                Kahic Esq.
                                                                      isq.
27
                                                Attorneys for Walter P. Moore and Associates, Inc.
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                                                 COMPLAINT
